     Case 2:24-cv-00630-JAD-NJK          Document 25          Filed 11/15/24    Page 1 of 2



 1
 2                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 3

 4    BARKOCHBA BOTACH; BOTACH, INC., a                   Case No.: 2:24-cv-00630-JAD-NJK
      Nevada corporation,
 5
               Plaintiffs,
 6    v.
 7    NISIM ZUSMAN, an individual; IMI
      DEFENSE, LTD., an Israeli corporation,
 8                                                        STIPULATION AND ORDER OF
               Defendants.                                DISMISSAL WITH PREJUDICE
 9

10    IMI DEFENCE, LTD., an Israeli corporation,
11            Counterclaimant,
12    v.                                                           ECF No. 24
13    BARKOCHBA BOTACH; BOTACH, INC., a
      Nevada corporation,
14
              Counter-Defendants.
15

16             Plaintiffs BARKOCHBA BOTACH, BOTACH, INC. (“collectively, Plaintiffs”) and
17    Defendants NISIM ZUSMAN, IMI DEFENSE, LTD. (collectively, “Defendants”) hereby
18    stipulate to dismiss the above-entitled action, including all claims and counterclaims, with
19    prejudice, with each side bearing their own fees and costs. The parties have reached a mutually
20    acceptable resolution to this case, necessitating the dismissal with prejudice of this matter.
21    Should any party take action contrary to the parties’ agreed upon resolution of the claims, this
22    ///
23    ///
24    ///
25    ///
26    ///
27    ///
28    ///

                                                        -1-
      126650594.1
     Case 2:24-cv-00630-JAD-NJK           Document 25         Filed 11/15/24    Page 2 of 2



 1    Court shall retain jurisdiction to enforce the parties’ agreed-upon resolution.
 2    DATED this 13th day of November, 2024. DATED this 13th day of November, 2024.
 3     KING SCOW KOCH DURHAM LLC                    LEWIS ROCA
                                                    ROTHGERBER CHRISTIE LLP
 4
       By: /s/ Steven B. Scow                       By: /s/ Meng Zhong
 5     David R. Koch                                Meng Zhong
       Steven B. Scow                               3993 Howard Hughes Parkway, Suite 600
 6     Daniel G. Scow                               Las Vegas, NV 89169
       11500 S. Eastern Ave., Suite 210             Tele: 702-949-8200
 7     Henderson, NV 89052                          E-mail: mzhong@lewisroca.com
       Tele: 702-833-1100
 8     E-mail: dkoch@kskdlaw.com                    Attorney for Defendants/Counterclaimants
       E-mail: sscow@kskdlaw.com                    Nisim Zusman and IMI Defense, Ltd.
 9     E-mail: dscow@kskdlaw.com
10     Attorneys for Plaintiffs/Counter-
       defendants BarKochba Botach and
11     Botach Inc.
12

13

14                                           ORDER
15            Based on the parties' stipulation [ECF No. 24] and good cause appearing, IT IS
      HEREBY ORDERED that THIS ACTION IS DISMISSED with prejudice, each side to
16
      bear its own fees and costs. The Clerk of Court is directed to CLOSE THIS CASE.
17
                                                      _________________________________
18                                                    U.S. District Judge Jennifer A. Dorsey
                                                      November 15, 2024
19

20

21

22

23

24

25

26

27

28


                                                        -2-
      126650594.1
